Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 1 of 23                 PageID #: 21




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

 IN THE MATTER OF THE SEARCH OF A
 SAMSUNG GALAXY S22 SERIAL NO.
                                               Case No. 2:24-mj-287-KFW
 R5CT11BM5JW




                          AFFIDAVIT IN SUPPORT OF A
                        SEARCH WARRANT APPLICATION

       I, David C. Fife, being first duly sworn, hereby state as follows:

                  INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant authorizing the examination

of property—an electronic device, further described in Attachment A —which is

currently in law enforcement possession, and the extraction from that property of

electronically stored information described in Attachment B.

       2.     I am a Special Agent (SA) with Homeland Security Investigations (HSI)

and have been since August 2009. I am currently assigned to HSI’s Portland, Maine

office. I have participated in numerous criminal investigations, to include matters

involving the sexual exploitation of children. In my career I have utilized various

investigative tools and techniques to include the use of search warrants.

       3.     This affidavit is intended to provide the facts necessary for a

determination of probable cause for the requested search warrant. The facts set forth in

this affidavit are based on my personal knowledge, information obtained during my

participation in this investigation, information from others, including law enforcement
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 2 of 23                PageID #: 22




officers, my review of documents and computer records related to this investigation, and

information gained through my training and experience.

       4.     Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that violations including the Possession of

Child Pornography, in violation of 18 U.S.C. §§ 2252(a)(a)(5)(B) and (b)(2) and

2256(8)(A) and Criminal Contempt, in violation of 18 U.S.C. §§ 401 and 3148 have been

committed by Sheldon Rembert. There is also probable cause to search the information

described in Attachment A for evidence, contraband, and instrumentalities of these

crimes further described in Attachment B.

             IDENTIFICATION OF THE DEVICE TO BE EXAMINED

       5.     The property to be searched is a Samsung Galaxy S22 Ultra, (hereinafter

the “Device,”), bearing serial number R5CT11BM5JW, which is further described in

Attachment A, and is currently in the custody of Homeland Security Investigations at its

offices in Portland, Maine.

       6.     The applied-for warrant would authorize the forensic examination of the

Device for the purpose of identifying electronically stored data particularly described in

Attachment B.

                                  PROBABLE CAUSE

       7.     On February 16, 2024, Sheldon Rembert was arrested in connection with a

federal complaint charging him with Possession of Child of Child Pornography in

violation of 18 U.S.C. §§ 2252(a)(a)(5)(B) and (b)(2) and 2256(8)(A). A copy of my

affidavit submitting in support of the complaint is attached hereto and incorporated

herein as Exhibit 1.



                                             2
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 3 of 23                PageID #: 23




      8.       On February 22, 2024, after a detention hearing, Rembert was released

subject to an Order Setting Conditions of Release. See United States v. Sheldon

Rembert, Case No. 2:24-cr-00033-NT, Dkt. 18. Condition (7)(t) of the Order Setting

Conditions of Release required that:

      “The defendant shall participate and comply with the requirements of the
      Computer and Internet Monitoring Program (which may include partial or full
      restriction of computer(s), internet/intranet, and/or internet-capable devices),
      and shall pay for services, directly to the monitoring company. The defendant
      shall submit to periodic or random unannounced searches of his/her
      computer(s), storage media, cloud based electronic service/storage accounts
      and/or other electronic or internet-capable device(s) performed by the
      probation officer. This may include the retrieval and copying of any prohibited
      data. Or, if warranted, the removal of such system(s) or electronic service
      storage/accounts for the purpose of conducting a more comprehensive
      search…”

United States v. Sheldon Rembert, Case No. 2:24-cr-00033-NT, Dkt. 19.

      9.       On March 20, 2024, an Indictment charging Defendant with Possessing

Child Pornography in violation of 18 U.S.C. §§ 2252(a)(a)(5)(B) and (b)(2) and

2256(8)(A) was filed in Federal District Court in Portland, Maine. See United States v.

Sheldon Rembert, Case No. 2:24-cr-00033-NT, Dkt. 23.

      10.      I have been informed by Rembert’s supervising United States Probation

Officer Michael Cook, that pursuant to Condition 7(t) of the Order Setting Conditions of

release, Rembert signed a Computer and Internet Monitoring Program Contract with

United States Probation. This contract included, the following requirements, among

others:

            a. “You may only access email accounts, including web-mail accounts, pre-

               approved by the Probation Office.” #12.

            b. “You shall not install or use any mobile applications (apps), software, or

               programs unless preapproved by the Probation Office.” #20.

                                              3
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 4 of 23                           PageID #: 24




            c. “You shall not visit any website that promotes illegal activity (i.e., sale of

                illicit drugs, weapons, solicitation of sex act, etc.). # 27.

            d. “You shall provide usernames and passwords for any online accounts and

                shall report the creation of new accounts, changes in identifiers and/or

                passwords, transfer, suspension and/or deletion of any account within 5

                days of such action.” #29.

            e. “You shall not view, access, possess and/or download any pornography

                involving minors or pornography depicting minors. (i.e., anime)” # 35

         11. I have been further informed by Officer Cook that:

            a. On May 20, 2024, Officer Cook conducted a routine review of the activity

                on the defendant’s approved, monitored device, a Samsung Galaxy S22

                Ultra. During his review, Officer Cook observed that in May 2024,

                Rembert viewed written material from the website nifty.org multiple times

                that proclaimed to describe scenes of under-age males having sex.

            b. After seeing the above-described written material, Officer Cook met with

                Rembert and seized the Device for a more thorough search.

            c. On May 21, 2024, United States Probation Officer Michael Barker

                conducted a manual search of the defendant’s phone. During said search,

                Officer Barker identified an email address associated with the phone,

                strbobo5722@gmail.com (the “Account”), that was unknown to Officer

                Cook. The Gmail account was linked to a Google Photos1 album which


1
 Google offers a cloud-based photo and video storage service called Google Photos. Users can share or
receive photos and videos with others. Users have the option to sync their mobile phone or device photos



                                                    4
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 5 of 23                             PageID #: 25




                 contained multiple images and video clips. Specifically, USPO Barker

                 observed the Google Photos album contained a thumbnail image of a video

                 of what appeared to be a pubescent boy with his buttocks to the camera

                 and an image of two prepubescent to pubescent males with their genitals

                 facing each other. Based on USPO Barker’s experience and training, the

                 images appeared to be child sexual abuse material.

              d. While searching the Device, Officer Barker also observed the “KillApp”

                 application installed on the Device.2 Rembert had not sought nor received

                 approval from United States Probation to use the KillApp application.

        12.      On July 10, 2024, I met with a United States Probation Officer Barker who

provided me with the Device and showed me the location of the child sexual abuse

material on the device.

        13.      I accessed the Google Photos application associated with the Account on

the Device. I observed multiple thumbnails which appear to show images of nude male

children with erect penises. I have attached and incorporated herein Exhibits 2 and 3 in

a sealed envelope. Exhibit 2 is a photograph showing the screen of the Device displaying

a video thumbnail in the Google Photos application. It is my opinion that the male

depicted in the image in Exhibit 2 is a minor under the age of 18 and that the image

constitutes a lascivious exhibition of the genital and pubic areas of the depicted minor.



to Google Photos. Google preserves files stored in Google Photos indefinitely, unless the user deletes
them.
2
 KillApps is an application that available on the Google Play Store that allows users to “close apps
running in background automatically by a simple touch.” See
https://play.google.com/store/apps/details?id=com.tafayor.killall&hl=en US, last visited 9/4/2024.



                                                     5
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 6 of 23                PageID #: 26




Exhibit 3 is a photograph of the screen of the Device displaying multiple images found

in the Google Photos application. Based on my review of the images in Exhibit 2, it is my

opinion that the males depicted in the images in Exhibit 3 are minors under the age of

18 and that the images constitute lascivious exhibitions of the genital and pubic areas of

the depicted minors. I believe it is possible some of the images in Exhibit 3 depict actual

minors that have been altered to enhance the appearance of the minor’s genitalia, or

alternatively, that some of the images are computer generated imagery.

                                   TECHNICAL TERMS

       14.      Based on my training and experience, I use the following technical terms

to convey the following meanings:

             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data

                communication through radio signals. These telephones send signals

                through networks of transmitter/receivers, enabling communication with

                other wireless telephones or traditional “land line” telephones. A wireless

                telephone usually contains a “call log,” which records the telephone

                number, date, and time of calls made to and from the phone. In addition

                to enabling voice communications, wireless telephones offer a broad range

                of capabilities. These capabilities include: storing names and phone

                numbers in electronic “address books;” sending, receiving, and storing text

                messages and e-mail; taking, sending, receiving, and storing still

                photographs and moving video; storing and playing back audio files;

                storing dates, appointments, and other information on personal calendars;

                and accessing and downloading information from the Internet. Wireless

                                              6
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 7 of 23             PageID #: 27




            telephones may also include global positioning system (“GPS”) technology

            for determining the location of the device.

         b. Digital camera: A digital camera is a camera that records pictures as

            digital picture files, rather than by using photographic film. Digital

            cameras use a variety of fixed and removable storage media to store their

            recorded images. Images can usually be retrieved by connecting the

            camera to a computer or by connecting the removable storage medium to a

            separate reader. Removable storage media include various types of flash

            memory cards or miniature hard drives. Most digital cameras also include

            a screen for viewing the stored images. This storage media can contain

            any digital data, including data unrelated to photographs or videos.

         c. Portable media player: A portable media player (or “MP3 Player” or iPod)

            is a handheld digital storage device designed primarily to store and play

            audio, video, or photographic files. However, a portable media player can

            also store other digital data. Some portable media players can use

            removable storage media. Removable storage media include various types

            of flash memory cards or miniature hard drives. This removable storage

            media can also store any digital data. Depending on the model, a portable

            media player may have the ability to store very large amounts of electronic

            data and may offer additional features such as a calendar, contact list,

            clock, or games.

         d. GPS: A GPS navigation device uses the Global Positioning System to

            display its current location. It often contains records the locations where

            it has been. Some GPS navigation devices can give a user driving or

                                           7
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 8 of 23            PageID #: 28




            walking directions to another location. These devices can contain records

            of the addresses or locations involved in such navigation. The Global

            Positioning System (generally abbreviated “GPS”) consists of 24

            NAVSTAR satellites orbiting the Earth. Each satellite contains an

            extremely accurate clock. Each satellite repeatedly transmits by radio a

            mathematical representation of the current time, combined with a special

            sequence of numbers. These signals are sent by radio, using specifications

            that are publicly available. A GPS antenna on Earth can receive those

            signals. When a GPS antenna receives signals from at least four satellites,

            a computer connected to that antenna can mathematically calculate the

            antenna’s latitude, longitude, and sometimes altitude with a high level of

            precision.

         e. PDA: A personal digital assistant, or PDA, is a handheld electronic device

            used for storing data (such as names, addresses, appointments or notes)

            and utilizing computer programs. Some PDAs also function as wireless

            communication devices and are used to access the Internet and send and

            receive e-mail. PDAs usually include a memory card or other removable

            storage media for storing data and a keyboard and/or touch screen for

            entering data. Removable storage media include various types of flash

            memory cards or miniature hard drives. This removable storage media

            can store any digital data. Most PDAs run computer software, giving them

            many of the same capabilities as personal computers. For example, PDA

            users can work with word-processing documents, spreadsheets, and



                                          8
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 9 of 23               PageID #: 29




                presentations. PDAs may also include global positioning system (“GPS”)

                technology for determining the location of the device.

             f. IP Address: An Internet Protocol address (or simply “IP address”) is a

                unique numeric address used by computers on the Internet. An IP address

                is a series of four numbers, each in the range 0-255, separated by periods

                (e.g., 121.56.97.178). Every computer attached to the Internet computer

                must be assigned an IP address so that Internet traffic sent from and

                directed to that computer may be directed properly from its source to its

                destination. Most Internet service providers control a range of IP

                addresses. Some computers have static—that is, long-term—IP addresses,

                while other computers have dynamic—that is, frequently changed—IP

                addresses.

             g. Internet: The Internet is a global network of computers and other

                electronic devices that communicate with each other. Due to the structure

                of the Internet, connections between devices on the Internet often cross

                state and international borders, even when the devices communicating

                with each other are in the same state.

       15.      Based on my training and experience, I know that the Device has

capabilities that allow it to serve as a wireless telephone, digital camera, portable media

player, GPS navigation device, and PDA. In my training and experience, examining data

stored on devices of this type can uncover, among other things, evidence that reveals or

suggests who possessed or used the device.




                                              9
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 10 of 23               PageID #: 30




                ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       16.      Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods of time. Similarly, things that have been

viewed via the Internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools.

       17.      Forensic evidence. As further described in Attachment B, this application

seeks permission to locate not only electronically stored information that might serve as

direct evidence of the crimes described on the warrant, but also forensic evidence that

establishes how the Device was used, the purpose of its use, who used it, and when.

There is probable cause to believe that this forensic electronic evidence might be on the

Device because:

             a. Data on the storage medium can provide evidence of a file that was once

                on the storage medium but has since been deleted or edited, or of a deleted

                portion of a file (such as a paragraph that has been deleted from a word

                processing file).

       18.      Nature of examination. Based on the foregoing, and consistent with Rule

 41(e)(2)(B), the warrant I am applying for would permit the examination of the Device

 consistent with the warrant. The examination may require authorities to employ

 techniques, including but not limited to computer-assisted scans of the entire medium,

 that might expose many parts of the device to human inspection in order to determine

 whether it is evidence described by the warrant.

       19.      Manner of execution. Because the warrant requested as to the Device

 seeks only permission to examine a device already in law enforcement’s possession, the

 execution of this warrant does not involve the physical intrusion onto a premises.

                                             10
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 11 of 23   PageID #: 31
 Case
Case   2:24-cr-00033-LEW Document
     2:24-mj-00304-KFW    Document1-4
                                   3-1 Filed
                                        Filed10/02/24
                                              02/15/24 Page
                                                        Page121 of
                                                                of 23
                                                                   7 PageID
                                                                      PageID#:#:432
 Case
Case   2:24-cr-00033-LEW Document
     2:24-mj-00304-KFW    Document1-4
                                   3-1 Filed
                                        Filed10/02/24
                                              02/15/24 Page
                                                        Page132 of
                                                                of 23
                                                                   7 PageID
                                                                      PageID#:#:533
 Case
Case   2:24-cr-00033-LEW Document
     2:24-mj-00304-KFW    Document1-4
                                   3-1 Filed
                                        Filed10/02/24
                                              02/15/24 Page
                                                        Page143 of
                                                                of 23
                                                                   7 PageID
                                                                      PageID#:#:634
 Case
Case   2:24-cr-00033-LEW Document
     2:24-mj-00304-KFW    Document1-4
                                   3-1 Filed
                                        Filed10/02/24
                                              02/15/24 Page
                                                        Page154 of
                                                                of 23
                                                                   7 PageID
                                                                      PageID#:#:735
 Case
Case   2:24-cr-00033-LEW Document
     2:24-mj-00304-KFW    Document1-4
                                   3-1 Filed
                                        Filed10/02/24
                                              02/15/24 Page
                                                        Page165 of
                                                                of 23
                                                                   7 PageID
                                                                      PageID#:#:836
 Case
Case   2:24-cr-00033-LEW Document
     2:24-mj-00304-KFW    Document1-4
                                   3-1 Filed
                                        Filed10/02/24
                                              02/15/24 Page
                                                        Page176 of
                                                                of 23
                                                                   7 PageID
                                                                      PageID#:#:937
 Case2:24-mj-00304-KFW
Case  2:24-cr-00033-LEW Document
                         Document1-4
                                  3-1 Filed
                                       Filed10/02/24
                                             02/15/24 Page
                                                       Page18
                                                            7 of
                                                              of 723 PageID
                                                                      PageID#:#:1038
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 19 of 23   PageID #: 39
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 20 of 23   PageID #: 40
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 21 of 23               PageID #: 41




      This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 22 of 23                 PageID #: 42




                                   ATTACHMENT B
       1.     All records on the Device Described in Attachment A relating to violations

of 18 U.S.C. §§ 2252(a)(a)(5)(B) and (b)(2) and 2256(8)(A) and/or 18 U.S.C. §§ 401 and

3148, those violations involving Sheldon Rembert and occurring after February 16,

2024, including:

              a.     records and visual depictions of minors engaged in sexually explicit
                     conduct as defined in 18 U.S.C. § 2256;

              b.     records or information pertaining to an interest in child
                     pornography;

              c.     records or information pertaining to the possession, receipt, or
                     distribution of visual depictions of minors engaged in sexually
                     explicit conduct, as defined in 18 U.S.C. § 2256;

              d.     records or information of and relating to visual depictions that have
                     been created, adapted, or modified to appear that an identifiable
                     minor is engaging in sexually explicit conduct as defined in 18
                     U.S.C. § 2256, including the record or information used to create
                     the visual depiction;

              e.     records or information pertaining to peer-to-peer file sharing;

              f.     photo and/or video editing software and records or information
                     relating to photo and/or video editing software;

              g.     evidence indicating the computer user’s state of mind as it relates to
                     the crime under investigation;


              h.     evidence concerning the use or installation of applications designed
                     to eliminate or conceal data and/or use of applications on the
                     Device.

       2.     Evidence of user attribution showing who used or owned the Device at the

time the things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history;
Case 2:24-mj-00304-KFW Document 1-4 Filed 10/02/24 Page 23 of 23            PageID #: 43




      3.            As used above, the terms “records” and “information” include all of

the foregoing items of evidence in whatever form and by whatever means they may have

been created or stored, including any form of computer or electronic storage (such as

flash memory or other media that can store data) and any photographic form.
